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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

 

QUYNH VU BAIN,
Plaintiff,
Vv.

OFFICE OF THE ATTORNEY GENERAL
U.S. Department of Justice,

OFFICE OF THE DEPUTY ATTORNEY GENERAL
U.S. Department of Justice,

No. 21-Civ-1751 (RDM)
OFFICE OF PROFESSIONAL RESPONSIBILITY
U.S. Department of Justice,

EXECUTIVE OFFICE FOR IMMIGRATION
REVIEW, U.S. Department of Justice,

OFFICE OF INFORMATION POLICY
U.S. Department of Justice,

Jury Trial Demanded
for Second and Third
Causes of Action

Defendants.

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AMENDED COMPLAINT FOR DECLARATORY, INJUNCTIVE,
AND MONETARY RELIEF
Plaintiff Quynh Vu Bain, proceeding pro se, brings this action against the United States
Department of Justice and its various named components, collectively referred to as “Defendants.”
Nature of Action
he This action asserts three separate but related causes of action arising from

Defendants’ September 17, 2020 decision to terminate Plaintiff's employment after 29 years of

  

 

  
  
 

 

 

esar, Clerk of Court

Angela D. Ca District of Columbia

§, District Court,

   

 
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exemplary service in the U.S. Department of Justice. See Exhibit 1 (filed under seal, exempt from
disclosure under FOIA Exemption 6).
Parties

% Plaintiff is a resident of the District of Columbia and a citizen of the United States.
She is an Asian-American female of Vietnamese descent in her fifties. She was employed as a
career civil servant in the U.S. Department of Justice from October 1991 to September 2020. Most
recently, she served as an Immigration Judge in the Executive Office for Immigration Review for
12 years. At various times, she was assigned to the Headquarters Immigration Court in Falls
Church, Virginia and the Arlington Immigration Court in Arlington, Virginia.

BF Until March 2021, Plaintiff was represented by attorneys who specialized in
government investigations and labor and employment law. At the present time, Plaintiff is
representing herself.

4. All of the offices and agencies collectively denoted as Defendants are components
of the United States Department of Justice.

The Office of the Attorney General (“OAG”) makes hiring, firing, and other personnel-
related decisions concerning immigration judges.

The Office of the Deputy Attorney General (““ODAG”) formulates and recommends
disciplinary or adverse actions against immigration judges.

The Office of Professional Responsibility (‘“OPR”) investigates allegations of misconduct
involving Department attorneys, including immigration judges.

The Office of Information Policy (“OIP”) adjudicates appeals from the decisions of
individual DOJ components to withhold information that is requested under the Freedom of

Information Act and the Privacy Act.
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The Executive Office for Immigration Review (“EOIR”) manages the operations of the
Nation’s 58 immigration courts through the Office of the Director, Office of the Deputy Director,
and Office of the Chief Immigration Judge. At the tume of Plaintiff's employment, the Office of
the Chief Immigration Judge had three Deputy Chief Immigration Judges and approximately
sixteen Assistant Chief Immigration Judges. The assistant chief judges (“ACIJ’s”) oversee the
day-to-day work of non-supervisory immigration judges.

Jurisdiction and Venue

5. This civil action consolidates three separate but related causes of action arising
from Defendants’ decision to terminate Plaintiff's employment. This Court has subject matter
jurisdiction under the following statutes:

The Freedom of Information Act and the Privacy Act, 5 U.S.C. §§ 552 & 552a;

The Administrative Procedures Act, 5 U.S.C. § 701 et seq.;

The Civil Service Reform Act (CSRA) of 1978, 5 U.S.C. §§ 1204, 7701, 7702, and 7512;

Title VU of the Civil Rights Act of 1964, 42 U.S.C. § 20006 et seq.;

The Rehabilitation Act of 1973, 29 U.S.C. § 701 et seq.;

The Age Discrimination in Employment Act of 1967, 29 U.S.C. § 621 et seq.;

The Whistleblower Protection Act of 1989, 5 U.S.C. § 2302(b);

The federal question statute, 28 U.S.C. § 1331;

The mandamus statute, 28 U.S.C. § 1361; and

The declaratory judgment act, 28 U.S.C. § 2201.

First Cause of Action
6. The first cause of action relates to Plaintiff's complaint under the Freedom of

Information Act and Privacy Act, brought to challenge Defendants’ willful failure to release
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information in response to three FOIA requests that Plaintiff filed in September 2015, January
2018, and August 2019. See Exhibit 2.

7. All of the FOIA requests seek information in the possession, control and custody
of Defendants.

8. Plaintiff has properly and timely exhausted each of the three FOIA requests. See 5
U.S.C. §§ 552(a)(4)(B).

9. On September 13, 2021, Defendant OIP advised that it will not adjudicate the
administrative appeal that Plaintiff filed on June 3, 2020, because Plaintiff has filed a district court
action challenging the withholding of documents. See Exhibit 2.

10. This cause of action is timely commenced within six years after Plaintiff became
aware of the non-disclosure of the requested information and materials. See Spannaus v. U.S.
Department of Justice, 824 F.2d 52, 56 (D.C. Cir. 1987).

11. This Court has original jurisdiction over Plaintiff's complaint under the FOIA and
Privacy Act and reviews de novo the Defendants’ decisions regarding the withholding or release
of information. 5 U.S.C. §§ 552a(g)(3).

12. The first cause of action also challenges Defendants’ willful failure to correct errors
in Plaintiff's personnel records in a timely fashion, which contributed to the use of those erroneous
personnel records in subsequent adverse actions brought against Plaintiff. This Court has original
jurisdiction and reviews de novo the Defendants’ decisions to take or not to take corrective action.
5 U.S.C. §§ 552a(g)(1), 552a(g)(2)(A), and 552a(g)(5).

Second Cause of Action
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13. | The second cause of action relates to Plaintiff's complaint of discrimination,
retaliation for engaging in protected activity, and hostile work environment. The events underlying
the discrimination complaint occurred between January 2015 and September 2020.

14. ‘Plaintiff has properly exhausted this cause of action with the administrative
agencies authorized to adjudicate her discrimination complaint. Her administrative complaint was
filed with the EEOC on December 10, 2015 and was amended on May 18, 2018. See Exhibit 3.
It alleges discrimination in violation of Title VII of the Civil Rights Act of 1964 and the
Rehabilitation Act of 1973, regarding the events starting in January 2015 that directly led to her
removal on September 17, 2020.

15. On February 26, 2020, an EEOC administrative judge dismissed Plaintiff's
discrimination complaint by summary judgment without a hearing. Plaintiff timely appealed the
administrative judge’s decision to the Justice Department’s Complaint Adjudications Office
(CAO). Thereafter, Plaintiff timely filed a Notice of Appeal and letter brief with the EEOC on
May 1, 2020. See Exhibit 4.

16. In her appeal to the CAO, Plaintiff advised that one day after the EEOC
administrative judge dismissed her complaint by summary judgment, the Justice Department
proposed her removal on February 27, 2020. See Exhibit 4. Plaintiff requested that the CAO hold
the appeal in abeyance, pending the Attorney General’s disposition of the proposal to terminate
her employment. The CAO declined her request to hold the appeal. Plaintiff next requested that
the EEOC vacate the administrative judge’s decision, reopen the evidentiary record, and remand

the matter for further discovery. See id.
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17. While her EEOC appeal was pending, the United States Attorney General issued a
removal decision on September 17, 2020, terminating Plaintiff's employment in the Justice
Department after 29 years. See Exhibit 1.

18. On October 19, 2020, within 30 days after her discharge, Plaintiff timely filed a
“mixed case appeal” with the Merit Systems Protection Board (“MSPB”), challenging her removal
on the merits. The appeal notice asserts that Defendants failed to prove the charges and, in
selecting an appropriate penalty, failed to properly weigh the mitigating and aggravating factors

in Douglas v. Veterans Administration, 5 M.S.P.R. 280 (1981). In addition, the appeal notice

 

asserts that the Removal Decision relied on information that Defendants refused to produce to
Plaintiff, in violation of 5 U.S.C. §§ 7701(c)(2)(A) & (C). See also 5 U.S.C. § 7701(c)(3). Finally,
the notice asserts two affirmative defenses to removal, one based on violations of federal anti-
discrimination laws, and the other, on violations of the Whistleblower Protection Act.! See Exhibit
5.

19. Regarding her affirmative defense based on discrimination, the MSPB appeal
notice asserts that her removal violates Title VII of the Civil Rights Act of 1964, the Rehabilitation
Act of 1973, and the Anti-Age Discrimination in Employment Act. See Exhibit 5.

20. Regarding her affirmative defense based on whistleblower retaliation, the MSPB
appeal notice asserts that Plaintiff's removal violates the Whistleblower Protection Act of 1989.
See 5 U.S.C. §§ 2308 & 2309. See Exhibit 5.

21. By notice sent to Defendants on November 1, 2020, within 45 days of her removal,

Plaintiff advised Defendants that she intends to pursue a “mixed case appeal” before the MSPB,

 

1 A “mixed case appeal” is one in which a federal employee “alleges that an appealable
agency action was effected in whole or in part because of discrimination.” Kloeckner v. Solis, 568
USS. 41, 44-45 (2012). See also 29 C.F.R. § 1614.302(a)(2); 5 C.F.R. § 1201.151 (2019).

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in which discrimination and whistleblower retaliation are asserted as affirmative defenses to her
removal. See Exhibit 7.

22. On April 29, 2021, after the EEOC affirmed the administrative judge’s decision to
grant summary judgment to Defendants, Plaintiff filed a Motion for Reconsideration with the
EEOC, advising the EEOC of her discharge from federal employment on September 17, 2020. See
Exhibit 6. Plaintiff further advised the EEOC that she is pursuing a mixed case appeal before the
MSPB, in which she asserts discrimination as an affirmative defense to her removal. Plaintiff
requested that the EEOC reconsider its decision to dismiss her EEOC action by summary
judgment, reopen the evidentiary record, and hold the EEOC proceeding in abeyance pending
resolution of the MSPB mixed case appeal, to avoid any potential res judicata effect or issue
preclusion that the EEOC decision might present in the MSPB proceeding.

23. Thereafter, Plaintiff timely commenced this district court action on June 22, 2021,
within 90 days of the EEOC’s March 24, 2021 decision affirming the grant of summary judgment
to Defendant EOIR, without a hearing.

24. On August 17, 2021, after the instant action was commenced, the EEOC denied
Plaintiff's April 29, 2021 Motion for Reconsideration. See Exhibit 6. In its decision, the EEOC
acknowledged the new claim of discrimination and its underlying facts, including Defendants’
February 27, 2020 Notice of Proposed Removal issued one day after the dismissal of Plaintiffs
EEOC action, and Plaintiff's actual removal on September 17, 2020. Even though it had de novo
review authority, the EEOC declined to address the new allegations of discrimination relating to
Plaintiff's discharge. The EEOC instead limited the scope of its reconsideration to the original 39
allegations of discrimination. See id.

Third Cause of Action
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25. The third cause of action relates to Plaintiff's whistleblower retaliation claim
brought under the Whistleblower Protection Act of 1989, 5 U.S.C. § 2302(b). Plaintiff has
properly and timely exhausted this cause of action with the administrative agencies responsible for
adjudicating it.

26. | Through her timely Notice of Appeal filed with the MSPB on October 19, 2020,
Plaintiff asserted the whistleblower retaliation claim as an affirmative defense to her removal. See
Exhibit 5.

27. Through a communication dated November 1, 2020, Plaintiff provided courtesy
notice of the election of remedy to Defendant EOIR. See Exhibit 7.

28. Through her April 29, 2021 Motion for Reconsideration filed with the EEOC,
Plaintiff provided courtesy notice of the same to the EEOC. See Exhibit 6.

29. Soon after Plaintiff filed her October 19, 2020 MSPB appeal, Defendants filed a
“Motion to Reassign/Dismiss” asserting that the MSPB judge assigned to Plaintiff's appeal lacked
Constitutional authority to hear her mixed case appeal, because that judge had not been duly
appointed in accordance with the Appointments Clause of Article II, Section 2, Clause 2 of the
United States Constitution. See Lucia v. Securities and Exchange Commission. 138 S. Ct. 2044
(2018). Plaintiff opposed the dismissal motion.

30. | By Order dated November 16, 2020, the MSPB granted Defendants’ motion to
dismiss for lack of jurisdiction without prejudice to reinstatement, based on the reasoning of Lucia.
The Order of Dismissal provides that Plaintiffs appeal will automatically be reinstated within 180
days of the date of the Order. See Exhibit 8.

31. On May 18, 2021, the MSPB reinstated Plaintiff's appeal in accordance with its

November 16, 2020 Order of Dismissal. The MSPB, however, stated that it still lacks jurisdiction
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over Plaintiff's appeal and would again dismiss the appeal without prejudice to reinstatement,
unless both parties were to consent to the MSPB’s exercise of jurisdiction by June 7, 2021. See
Exhibit 9.

32. Thereafter, the MSPB issued a second Order of Dismissal without prejudice to
reinstatement. Dated June 8, 2021, the second Order provides that Plaintiff's MSPB appeal will
be automatically reinstated on December 24 13, 2021. See Exhibit 10.

33. Upon information and belief, the MSPB has operated without a full quorum of
Board Members since 2017. Without a quorum of Board Members, the MSPB lacks authority to
appoint individual administrative judges in accordance with the Supreme Court’s decision in
Lucia.

34. In view of the MSPB’s continuing lack of jurisdiction over Plaintiff's mixed case
appeal, this district court may exercise subject matter jurisdiction over the MSPB mixed case
appeal and adjudicate it in the first instance. See Perry v. MSPB, 137 S. Ct. 1975, 1979 (2017)
(holding that when the MSPB dismisses a mixed case appeal for lack of subject matter jurisdiction,
the plaintiff may appeal her removal to the federal district court); Kloeckner v. Solis, 568 U.S. 41,
46 (2012) (holding that a federal employee who claims that an agency action appealable to the
MSPB violates an anti-discrimination statute listed in 5 U.S.C. § 7702(a)(1) should seek judicial
review of the dismissal of her complaint in federal district court, not in the Federal Circuit). See
id. at 604 (stating that under 5 U.S.C. § 7703(b)(2), the federal district court has original
jurisdiction to review de novo the EEOC’s decision on the merits of a complaint of discrimination,
where the complaint invokes an anti-discrimination statute listed in § 7702 and is commenced

within 90 days after the issuance of the EEOC decision).
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35. Personal jurisdiction and venue are proper in the District of Columbia, because this
is the district in which Plaintiff resides and in which a substantial number of the acts or omissions
giving rise to Plaintiffs claims occurred. 5 U.S.C. § 552(a)(4)(B); 5 U.S.C. § 552a(g)(5); and 28
U.S.C. § 1391.

Factual Allegations

36. After six years of successful service as an immigration judge, Plaintiff began to
experience severe, debilitating migraine headaches while conducting court hearings by tele-
videoconference. At the urging of her physicians, she requested a reasonable accommodation of
her medical condition. The requested accommodation was a permanent reassignment to the
Immigration Court in Arlington, Virginia, and, specifically, to that court’s non-videoconference
docket. As Plaintiff was already working in the Arlington court location (but was still assigned to
the Headquarters eeurt’s tele-videoconference court), a reassignment to the Arlington court’s non-
videoconference docket would have been a most suitable accommodation. See Exhibit 12 (filed
under seal, exempt from disclosure under FOIA Exemption 6).

37. | When her first reasonable accommodation request was denied, Plaintiff filed an
informal EEO complaint with Defendant EOIR in June 2014, challenging the reasonable
accommodation denial as violating Title VII of the Civil Rights Act of 1964 and the Rehabilitation
Act of 1973. Shortly thereafter, Plaintiff began to experience severe harassment that prompted her
to withdraw the internal complaint in August 2014.

38. The harassment continued even after Plaintiff withdrew her informal EEO
complaint. The harassment took the form of discriminatory and retaliatory personnel actions that
were intended to oust her from the agency, so that her immigration judge position could be given

to an external or internal immigration judge candidate the agency favored.

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39. In January 2015, former Chief Immigration Judge Mary Beth Keller” admonished
Plaintiff for communicating by email in a “rude” and “disrespectful” manner, after Plaintiff
complained about persistently malfunctioning tele-videoconference (“VTC”) equipment that had
prevented her timely completion of assigned court hearings in detained cases and made her sick
again. See Exhibit 13 (filed under seal, exempt from disclosure under FOIA Exemptions 6).

40. In February 2015, Plaintiff's then-supervisor, ACIJ Christopher A. Santoro,
assigned to Plaintiff to an indefinite detail to the Immigration Court in York, Pennsylvania. He
also reassigned over 100 aged, detained York cases from the dockets of white male immigration
judges to Plaintiff's docket and directed her to complete those hearings expeditiously. See Exhibit
13.

41.  Allof the 100 cases had been pending past the 60-day case completion goal. Many
involved detainees who had been in immigration custody for as long as three to four years, well
past the time period that was considered Constitutionally permissible under federal law. As many
detainees had filed habeas corpus petitions seeking immediate release from immigration custody,
Plaintiff was concerned about the heightened litigation risks that their cases posed to the Agency,
as well as her own professional and personal (Bivens) liability. When she expressed this concern
to ACIJ Santoro, he dismissed it. See Exhibit 13.

42.  ACIJ Santoro then thwarted Plaintiff's effort to complete the 100 cases at every
turn. He refused to send her the 100 case files in advance. He disallowed bond hearings even in
cases that did not involve mandatory detention. He denied Plaintiff's request for administrative

time off-the-bench to prepare for hearings and write judicial decisions. He allowed the resident

 

2 The former Chief Immigration Judge is a white female in her fifties. Upon information
and belief, she left the Defendants’ employ in July 2019.

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judge in the York, Pennsylvania Immigration Court (a white male in his sixties) to assign his
unwanted cases to Plaintiff. Most of the 100 aged, detained cases came from that resident judge’s
docket. See Exhibit 13.

43, At ACIJ Santoro’s direction, the York court administrator repeatedly reshuffled the
order of Plaintiff's hearings to accommodate the York resident judge’s preferences. The York
resident judge set up an assembly line of cases, in which he reserved for himself the perfunctory
hearings (i.e., bond and master calendar hearings), while assigning evidentiary hearings in the most
complex cases to Plaintiff. See Exhibit 13. Cases that Plaintiff completed were then reassigned
to the resident judge, who took credit for her work.

44, In March 2015, ACIJ Santoro issued a written reprimand that accused accusing
Plaintiff of displaying “intemperate behavior” toward him. The reprimand was issued after
Plaintiff returned a three-year-old case that the York resident judge had handled but, without
justification, reassigned to Plaintiff for completion. See Exhibit 13. In the same reprimand, ACIJ
Santoro also falsely accused Plaintiff of treating former Chief Judge Keller with disrespect during
the VTC malfunction incident that occurred four months earlier, in November 2014. See id.

45. The reprimand was the very first disciplinary action that Plaintiff received in her
then 24th year of service in the Justice Department. Until that point, Plaintiff's employment record
with DOJ was unassailable. See Exhibit 16 (filed under seal, exempt from disclosure under FOIA
Exemption 6). Over a 24-year period from 1991 until 2015, Plaintiff consistently received
outstanding, excellent, or fully successful performance ratings while working in five different DOJ
offices including EOIR. For the first six years of her service as an immigration judge (2008 to
2014), Plaintiff received an overall satisfactory performance rating — the highest possible rating

for an immigration judge — every year. She also received a satisfactory rating in each of the three

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critical elements: legal ability, accountability for organizational results, and professionalism.
Furthermore, six months before he issued the March 2015 reprimand, ACIJ Santoro had rated
Plaintiffs work performance as being “at least satisfactory” in each of the critical elements. Given
that positive assessment and Plaintiff's pristine employment record, the March 2015 reprimand
was highly suspect. Five years later, Plaintiff would realize that the reprimand was part of an
orchestrated effort to take away her job and give it to someone who did not possess the necessary
qualifications or work experience for the job.

46. The March 2015 reprimand was discrimination on account of Plaintiff's temporary
disability (migraine headaches) triggered by prolonged use of malfunctioning VTC equipment.
An email communication between ACIJ Santoro and Chief Judge Keller makes clear their
contempt for Plaintiff and their desire to get rid of her. See Exhibit 14 (filed under seal, subject to
EEOC Protective Order).

47. The severe penalty that they meted out to Plaintiff stood in sharp contrast to the
lenient treatment that ACIJ Santoro and Chief Judge Keller gave to her white male colleagues.
Documents from the “BAIN FOIA 2015” folder show that during the same time frame, they
repeatedly tolerated egregious, highly inappropriate conduct on the part of her white male
colleagues. One particular white male judge was repeatedly counseled for inappropriate comments
and behavior in court, but to Plaintiff's knowledge no disciplinary action was ever taken against
that judge. See Exhibit 14. He remains on the bench today.

48. The March 2015 reprimand also was retaliation for Plaintiffs protected
whistleblowing activity. In the weeks leading up to the reprimand, Plaintiffhad expressed concern
to ACIJ Santoro about her ability to resolve expeditiously the 100 aged, detained cases since she

did not have the authority to conduct bond hearings that the York resident judge reserved for

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himself. After he issued the reprimand, Plaintiff advised ACIJ Santoro that she would go public
with her concern. In response, he reluctantly agreed to let her conduct bond hearings as she
deemed necessary. See Exhibit 17. He did not rescind the reprimand, however, and continued to
use it to harass Plaintiff and deny her a well-earned reassignment to the Arlington court’s non-
videoconference docket, special work opportunities, and career advancement.

49. The March 2015 reprimand had the effect of barring Plaintiff from obtaining a
reassignment to the Arlington Immigration Court for a period of three years. See Exhibits 14. As
aresult, she continued using faulty VIC equipment that frequently malfunctioned and exacerbated
her medical condition. In April 2015, Plaintiff took Family Medical Leave Act (FMLA) leave to
recuperate from debilitating migraine headaches after the VIC equipment in her courtroom
malfunctioned for several consecutive days.

50. Upon her return to the office, Plaintiff began traveling to the York, Pennsylvania
Immigration Court to conduct hearings in person.

51. In late June 2015, the-same-superviser ACIJ Santoro issued a counseling letter,
accusing Plaintiff of traveling without his authorization to the York Immigration Court, a-court
location where she conducted her assigned court hearings in person. Upon his return from a two-
week vacation, he revoked the travel authorization that Plaintiff had received from other agency
personnel and denied her request for travel reimbursement. See Exhibit 15 (filed under seal,
exempt from disclosure under FOIA Exemption 6).

52. Like the March 2015 reprimand, the June 2015 counseling letter was a pretext for
discrimination and retaliation. ACIJ Santoro was well aware that the York court administrator had
arranged for Plaintiff to conduct her assigned court hearings in person, after the VTC equipment

in her Virginia courtroom malfunctioned. A new software program (E2 Solutions) that the Agency

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used to process travel authorization requests had glitches that prevented the proper routing of
Plaintiffs request to ACIJ Santoro. In addition, other Agency officials were aware of Plaintiff's
travel plan and had authorized it in ACIJ Santoro’s absence. See Exhibit 15.

53. In August 2015, ACIJ Santoro issued an annual performance rating that—while
crediting Plaintiff with satisfactory work performance-rated her professionalism as needing
improvement. The performance rating referenced the March 2015 reprimand and June 2015
counseling letter as justification for the downgraded performance rating. See Exhibit 18 (filed
under seal, exempt from disclosure under FOIA Exemption 6).

54. | On December 10, 2015, upon learning that her second reasonable accommodation
request was denied because of the March 2015 reprimand, Plaintiff timely filed a formal complaint
of discrimination with the EEOC. See Exhibit 3. Plaintiff alleged that the March 2015 reprimand,
the June 2015 counseling letter, the August 2015 performance rating, and the denial of her second
reassignment request and her Board Member application violated Title VII of the Civil Rights Act
of 1964 and the 1973 Rehabilitation Act. See Exhibit 3.

55. Within a month of filing her EEO complaint, Plaintiff was suddenly reassigned to
the Arlington Immigration Court’s non-videoconference docket. However, over the next four
years she continued to experience progressively worse acts of discrimination and retaliation that
eventually culminated in her discharge in September 2020.

56. From 2016 to 2019, Plaintiffs next supervisor (“ACIJ Deepali Nadkarni”)?
assigned her to complete aged, non-detained cases on the dockets of three white male judges.

Many of the cases had been pending for as long as 15 to 20 years, and Plaintiff was to complete

 

3 ACIJ Nadkarni is an Asian-American female of Indian descent in her forties. In July
2019, she resigned from her position as supervisory judge and began working in the Arlington
Immigration Court as a non-supervisory judge.

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the cases expeditiously. Plaintiffs supervisor also permitted white judges to dump their unwanted
cases on Plaintiff’s hearing calendar, causing numerous scheduling conflicts. During that same
period, Plaintiff's supervisor assigned her two to three times the number of new cases as were
assigned to white judges. In addition to handling a burgeoning Arlington court caseload, Plaintiff
had to continue hearing detained cases out of the detention facility in York, Pennsylvania by tele-
videoconference. See Exhibit 3, 19.

57. | When Plaintiff voiced concern about the very burdensome assignments and
scheduling conflicts, her supervisor issued a counseling letter in July 2016 criticizing Plaintiff for
an email communication with a white female judge. The counseling letter threatened to terminate
Plaintiff's employment. At the time, Plaintiff did not know that, on the same date, the supervisor
issued a similarly worded counseling letter to the white female judge, faulting that judge for acting
unprofessionally toward Plaintiff. See Exhibit 19 (filed under seal, exempt from disclosure under
FOIA Exemption 6).

58. In October 2016, ACIJ Nadkarni issued a performance rating that — while crediting
Plaintiff with satisfactory work performance ~ criticized her for a lack of professionalism. The
performance rating referenced the July 2016 counseling letter that the supervisor had issued the
previous month. However, it did not mention the July 2016 counseling letter that she issued to the
white female judge. The performance rating also referenced anonymous complaints that the
supervisor claimed to have received during the rating period. When asked to divulge the identities
of the complainants and the substance of their complaints, the supervisor refused to do so. See
Exhibit 20 (filed under seal, exempt from disclosure under FOIA Exemption 6).

59. Sometime in 2016, ACIJ Nadkarni became involved in the hiring and onboarding

of Vance Spath, an external immigration judge candidate who designated the Arlington

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Immigration Court as his one and only choice of court. Upon information and belief, Spath was a
former colleague and friend of ACIJ Santoro. At the time he applied for an immigration judge
position, Spath was presiding over a military commission trial at Guantanamo Bay. Public records
indicate that ACIJ Santoro facilitated the processing of Spath’s job application starting in 2015,
and that ACIJ Nadkani had obtained job references for Spath in June 2016. His onboarding,
scheduled for the end of 2016, was delayed. See Exhibit 22.

60.  Inlate January 2017, Plaintiff learned through ACIJ Nadkarni that Defendant EOIR
had released sensitive information from her personnel file to the American Immigration Lawyers
Association (“AILA”), a voluntary bar association of immigration attorneys. Plaintiff immediately
demanded that EOIR retract or claw back the information, but EOIR refused. See Exhibit 24.

61. On March 1, 2017, two immigration bar attorneys named Eileen Blessinger and
Carmen Boykin filed a complaint with Plaintiff's supervisor. See Exhibit 30, at EOIR 87-95 (filed
under seal, subject to OPR confidentiality agreement). The complaint alleged that Plaintiff
mishandled four court hearings between February and March 2017, and that she manifested
improper judicial bias, demeanor, and incompetence in those hearings. Notably, the complaint
stated that “Judge Bain has been counseled in the past but that apparently has not been sufficient
to instill the necessary dignity and decorum required in her proceedings.” See Exhibit 30, at EOIR
92. Plaintiff understood this comment to be a reference to the privacy-protected information that
EOIR had released to AILA two months earlier.

62. The complaint filed with Plaintiff's supervisor was prepared by attorney Paul L.
Knight. According to his law firm profile, Mr. Knight practiced criminal and white-collar defense
with the Nossaman law firm. The firm’s profile indicates that it has represented individuals facing

criminal prosecutions for violating the Iran sanctions:

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“Nossaman attorneys have significant experience in the defense of these
prosecutions. They have represented clients charged with the transshipment of
goods to Iran, including the acquittal of one such client in a jury trial.”

Given the broad definition of “Government of Iran” in the various sanctions regimes,

Plaintiff believed that the individuals his firm represented were connected to that government.

Solve it. Try it. Win it.

Applying extensive courtroom experience to solve
clients’ challenges and effectively manage their risks.

 

        
 

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Practices > Litigation > Criminal Expon Control and News
Embargo Actions
Resaurces

Litigation Success Stories
Areas of Focus Criminal Export Control and Embargo Actions 8

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Treasury, and Homeland Security continue to enforce
vigorously embargo-related criminal statutes. Such
prosecutions include the transshipment of goods,
weapons and economic espionage to Iran, North BE A Dyruurc ile Against
Korea, and other countries subject to trade embargoes aemonaes Frewa.cemra=
under Executive Orders.

 

For investigations feading to indiclments, the il
Government relies on the Arms Export Control Act
{AECA), the International Traffic in Arms Regulations
(ITAR), and the International Economic Powers Act
(IEEPA). and frequently asserts related false statement
charges

Nossaman attorneys have significant experience in the
defense of these prosecutions, They have
represented clients charged with the transshipment of
goods to Iran, including the acquittal of one such client
in a jury trial. They have advised clients under OFAC
and ITAR regulations, successfully avoiding the
criminal prosecution of such clients.

63. | Inhis March 1, 2017 complaint filed with EOIR (“the first Knight complaint”), Mr.
Knight claimed to be an expert on attorney discipline issues, having represented Justice
Department attorneys in disciplinary proceedings. One of those cases apparently put him in the
path of EOIR’s former Acting Deputy Director, Marlene Wahowiak. Ms. Wahowiak oversaw the
litigation of Plaintiff's EEOC proceeding at EOIR. In August 2017, at Mr. Knight’s urging, Ms.
Wahowiak referred Plaintiff to OPR for an investigation. See Exhibit 30, at EOIR 83-85.

64. | The March 1, 2017 Knight complaint claimed that Plaintiff verbally abused and
manifested improper bias toward his clients, Ms. Blessinger and Ms. Boykin, in a manner that

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warranted an investigation. Among other things, he asserted that Plaintiff manifested judicial bias
and incompetence. He claimed that Plaintiff belittled Ms. Blessinger when, in ruling on an
evidentiary objection, Plaintiff said:

Um, Ms. Blessinger, I’m not going to let you build a whole case on hearsay

evidence. All right? Hearsay, as you know, because you’ve gone to law school, is

a very weak form of evidence. Particularly when people who are eyewitnesses and

who have firsthand observations of the events in question are available to testify. If

you want to take up the rest of today with hearsay evidence, that’s fine, but I can’t

guarantee you that I'll give it much weight.

65. Mr. Knight also claimed that his other client, Ms. Boykin, was a seasoned
immigration lawyer who was subjected to a humiliating tongue-lashing by Plaintiff during an off-
record exchange following a February 16, 2017 court hearing. OPR, however, would later
determine that this allegation has no merit. As Ms. Boykin was ill-prepared for the court hearing,
Plaintiff was justified in admonishing her to be prepared for the next court date. See Exhibit 30,
at EOIR 79 n. 407, 293.

66. Attached to the March 1, 2017 complaint that Mr. Knight filed with EOIR was a
sworn affidavit by Ms. Blessinger’s paralegal, Nicolas Ahumada. See Exhibit 30, at EOIR 791-
792. The affidavit recounted Mr. Ahumada’s impressions of the February 17, 2017 court hearing,

the very first court hearing he ever attended. Though he professed not to know Plaintiff, Mr.

Ahumada’s affidavit expressed disconcerting familiarity with her demeanor and work habits.4 He

 

4 When asked to describe why he thought Plaintiff's lips were pursing as though she was angry
and not because they were dry, Mr. Ahumada replied:

Sure. I mean, I understand how that could be perceived, or could come across, or
that could be an option, but it was one of those where you were very -- it's not
where you're trying to moisten your lips and like put the lips on the inside of your
mouth, it's more so like your lips are still on the exterior and you're clenching
them very tightly to the point where there's like little wrinkles on your lip, you
know, like — (EOIR 1638).

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described Plaintiff's behavior in a grotesquely exaggerated manner, putting her in a false light and
playing up negative stereotypes of middle-aged Asian women. During his OPR interview, Mr.
Ahumada often made sarcastic and inappropriate comments about Plaintiff, for example, that “it
seemed as though she didn’t have her cup of coffee that morning.” See Exhibit 30, at EOIR 1636.

67. | Mr. Ahumada falsely claimed that Plaintiff screamed and yelled at Ms. Blessinger
for a period of five to ten minutes during an off-the-record heated exchange, causing Ms.
Blessinger’s hands to tremble. See Exhibit 30, at EOIR 1647. As OPR would later determine,
however, the off-record exchange lasted “only 31 seconds,” not “over five minutes” as Ms.
Blessinger claimed, and certainly not “five to ten minutes” as Mr. Ahumada recounted. See Exhibit
30, at EOIR 305-306, 28, 1122, 1647. OPR also determined that Plaintiff did not abuse Ms.
Blessinger by denying her a break in the middle of her client’s cross-examination. See id.

68. The March 1, 2017 complaint was the first such complaint filed against Plaintiff,
then in her seventh ninth year of service as an immigration judge.

69. Plaintiff's supervisor, ACIJ Nadkarni, did not apprise Plaintiff of the Knight March
1, 2017 complaint. Plaintiff learned about the complaint at the start of a March 7, 2017 court
hearing, when Attorney Blessinger presented a Motion for Recusal that attached the Knight March
1, 2017 complaint as an exhibit. See Exhibit 30, at EOIR 772-804. Attorney Blessinger informed
Plaintiff that a copy of the complaint had been emailed to the court administrator, Deborah Castro,
the day before the hearing, and that she expected Plaintiff to immediately recuse.

70. Concerned that the court administrator might have engaged in an impermissible ex
parte communication, Plaintiff asked the court administrator to testify concerning that
communication in open court. The court administrator’s testimony served two purposes: (1) to

cure the ex parte nature of the communication by divulging it to government counsel; and (2) to

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confirm that, prior to the March 7, 2017 court hearing, Plaintiff did not receive from the court
administrator the Knight March 1, 2017 complaint or their joint Motion for Recusal.

71. On March 28, 2017, Mr. Knight filed a second complaint with Plaintiffs
supervisor. See Exhibit 30, at EOIR 97-98 (“the second Knight complaint”). The second
complaint alleged that Plaintiff abused her judicial authority by refusing immediately to recuse
from all of their cases, and by requiring the court administrator to testify about the ex parte
communication with Attorney Blessinger. The second complaint also falsely accused Plaintiff of
witness intimidation.

72.  Plaintiff’s supervisor directed Plaintiff to respond to both the recusal motion and
the underlying March 1, 2017 and March 28, 2017 complaints. While on extended work-related
travel to New Mexico, Plaintiff prepared a response without the benefit of her paper records or
access to her courtroom’s audio-recordings.

73. Through an order dated June 8, 2017, Plaintiff responded to the recusal motion and
the two underlying complaints. See Exhibit 30, at EOIR 100-122. The Recusal Order applied the
recusal procedure and standards prescribed in EOIR’s policy memorandum, known as OPPM
05:02. Promulgated in 2005, OPPM 05:02 was modeled after the recusal procedure for federal
judicial officers in 28 U.S.C. § 455(a) & (b), and the United States Supreme Court’s decision in
Liteky v. United States, 510 U.S. 540 (1994). In addition, Plaintiff's Recusal Order applied the
Immigration Judges’ Ethics Guide, which is a code of judicial ethics and conduct for immigration
judges. See Exhibit 30, at EOIR 1298-1307. The Recusal Order was subsequently affirmed by
the Board of Immigration Appeals (“BIA”) in seven different cases. See Exhibit 25 (filed under

seal, subject to asylum confidentiality rules).

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74. Nevertheless, in early August 2017 EOIJR referred Plaintiff to OPR for an
investigation. The referral email was prepared by the former EOIR Deputy Director, Marlene
Wahowiak.°> See Exhibit 30, at EOIR 83-85. The former Deputy Director had supervised the
litigation of Plaintiffs EEOC action. Upon information and belief, she had worked in OPR for 12
years and had applied for an immigration judge position in the Arlington Immigration Court at the
same time that Plaintiff applied for a reassignment to that court. See Exhibit 30, at EOIR 281-284.

75. Ms. Wahowiak’s August 3, 2017 email states that ACIJ Nadkarni had met with and
interviewed Mr. Knight, Ms. Blessinger, and Ms. Boykin. Based on the interview, EOIR
determined that the matter should be referred to OPR. The email indicates that Ms. Wahowiak
was aware of OPR’s policy of not intervening in pending litigation; however, she pleaded with
OPR to initiate and expedite an investigation of Plaintiff, asserting — without any factual basis —
that an OPR investigation would prevent further harm to Mr. Knight’s and the two complaining
attorneys’ reputation. See Exhibit 30, at EOIR 83-85.

76. The records of ACIJ Nadkarni’s interviews of Mr. Knight, Ms. Blessinger, and Ms.
Boykin were never turned over to Plaintiff, despite requests made to OPR and later, to the Office
of Information Policy (OIP). See Exhibit 2. Nor were the records of her pre-referral interviews of
other eyewitnesses such as court interpreter Cherilyn Varela, who was interviewed the day of the
February 17, 2017 court hearing. See Exhibit 30, at EOIR 1616.

77. After the referral to OPR, ACIJ Nadkarni became a witness against Plaintiff but
remained Plaintiff's direct supervisor until July 2019, the month in which OPR issued its draft

report and ACIJ Nadkarni assumed a non-supervisory judge position in the Arlington court.

 

> The former EOIR Deputy Director is a white female in her fifties. Upon information
and belief, she left the Defendants’ employ in 2019 or 2020.

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78. Asa witness against Plaintiff, ACIJ Nadkarni provided OPR with an incomplete,
inaccurate set of records from Plaintiff's personnel file, including the July 2016 counseling letter
that she issued to Plaintiff. Yet, she withheld the July 2016 counseling letter that she issued to the
white female judge whom she faulted for escalating a conflict with Plaintiff to senior management.
See Exhibit 30, at EOIR 7-8, Exhibit 2.

79. | ACIJ Nadkarni was interviewed by OPR investigative counsel sometime in 2018.
Her testimony was used to support OPR’s seriously flawed finding of judicial misconduct and lack
of candor. OPR, however, has flatly refused to release ACIJ Nadkarni’s OPR interview transcript.
See Exhibit 2.

80. In August 2017, ACIJ Nadkarni issued a performance rating that again credited
Plaintiff with satisfactory work performance but noted a deficiency in professionalism. The
performance rating referenced the July 2016 counseling letter that she had issued to Plaintiff;
however, it did not reference the counseling letter that he had issued to her white female colleague,
which faulted that colleague for unprofessional behavior toward Plaintiff. See Exhibit 21.

81. On August 29, 2017, Plaintiff received a Letter of Inquiry from OPR that directed
her to respond to the two immigration bar attorneys’ March 2017 complaints. See Exhibit 29.

82. Plaintiff prepared a response to the OPR Letter of Inquiry while on extended work-
related travel to Louisiana, where she did not have access to her counsel or her paper records or
her courtroom audio-recordings.

83. In November 2017, Plaintiff filed a 97-page written response to the OPR Letter of
Inquiry. See Exhibit 30, at EOIR 124-220. Thereafter, Plaintiff sat for a seven-hour interview

with OPR investigative counsel on June 29, 2018. See Exhibit 30, at EOIR 349-770.

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84. Inher November 2017 written response, Plaintiff documented the abuse of EOIR’s
Immigration Judge Complaint Resolution Program (“CRP”) by which Plaintiff was referred to
OPR for an investigation. See Exhibit 30, at EOIR 806-810, 1308. Plaintiff described the
structural and Constitutional infirmities of the program and explained how litigants misused it to
gain a litigation advantage over their opponents. Using hearing records from the four court cases
that OPR was investigating, Plaintiff showed that her referral to OPR for an investigation lacked
sufficient predication, because the BIA had already affirmed her Recusal Orders in seven of the
attorneys’ cases.

85. Soon thereafter, the BIA adjudicated an appeal in one of the four cases that OPR
was investigating. On January 2, 2018, the Board issued an order vacating Plaintiff's decision on
the merits and remanded the case to another immigration judge for a new hearing. See Exhibit 30,
at EOIR 225-229. According to the BIA, Plaintiff displayed unprofessional behavior toward
Attorney Blessinger while conducting a February 17, 2017 court hearing. The BIA found that
Plaintiff had berated and screamed at Attorney Blessinger during an off-record exchange that
lasted at least five minutes. The BIA also found that Plaintiff unreasonably denied Attorney
Blessinger’s request for a break in the middle of her client’s cross-examination. See id.

86. Plaintiff promptly filed a Motion for Reconsideration, asserting that the BIA’s
findings and conclusions were erroneous. The BIA, however, denied the motion upon concluding
that Plaintiff lacked standing to bring it. See Exhibit 30, at EOIR 266-278.

87. Plaintiff subsequently called OPR’s attention to the BIA’s erroneous January 2,
2018 decision. After completing its investigation, OPR agreed that two of the BIA’s findings were
clear errors. First da-partieular, OPR determined that Plaintiff did not berate and scream at

Attorney Blessinger for five minutes during the off-record exchange, because the courtroom’s

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audio recordings indicated that Plaintiff went off-the-record for only 31 seconds. See Exhibit 30,
at EOIR 305-306, 28. Second, OPR determined that Plaintiff did not mistreat Attorney Blessinger
by denying her request for a recess in the middle of her client’s cross-examination. OPR concluded
that it was reasonable to make the attorney wait until after cross-examination was completed to
take a break. See id., at EOIR 28.

88. Notwithstanding the clear errors, the Board’s January 2, 2018 unpublished decision
was swiftly dispatched to the news media. It was published in a news article on January 5, 2018.
See Exhibit 26. The publication has caused much embarrassment and mental anguish to Plaintiff,
because she has been unable to obtain its retraction or rescission. The publication of the errant
January 2, 2018 decision has harmed Plaintiff s professional reputation and has impeded her ability
to find another job. Moreover, the Defendants’ eventual decision to terminate Plaintiffs
employment rested, in part, on a mistaken belief that Plaintiff herself had disseminated the BIA’s
January 2, 2018 decision to the media. See Exhibit 1.

89. In May 2018, Plaintiff amended her pending EEO complaint to add allegations of
discrimination, retaliation for engaging in protected activity, and hostile work environment. The
additional allegations asserted that Plaintiffs referral to OPR for an investigation in August 2017
and the BIA’s January 2, 2018 decision were motivated by discriminatory and retaliatory animus.
See Exhibit 3.

90. After discovery in the EEOC action closed and in April 2019, Defendant EOIR
moved for dismissal by summary judgment. See Exhibit 4.

91. On July 22, 2019, while Defendants’ Motion for Summary Judgment was pending
before the EEOC, OPR issued a draft Report of Investigation after completing its two-year

investigation of Plaintiff. As the draft Report cited, referenced, incorporated, or discussed

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evidence that Plaintiff did not have, Plaintiff requested that OPR investigative counsel immediately
release the full OPR investigative record, so that she could prepare a fulsome response to the draft
Report. See Exhibit 2. OPR investigative counsel denied the request, stating that OPR had not
“designated” a Record of Investigation. OPR counsel further stated that OPR does not release
records of witness interviews. See id.

92. On August 5, 2019, Plaintiff filed a request for release of information under the
FOIA and Privacy Act. This was Plaintiff's third FOIA request, and it was directed to the OPR
FOIA Office. The third FOIA request sought the full OPR record of investigative evidence. It
also requested expedited processing, citing as the reason the short time frame Plaintiff was given
to respond to the draft OPR Report. See Exhibit 2.

93. The OPR FOIA Office did not respond to Plaintiff's FOIA request until after the
deadline for responding to the OPR Report had passed.

94. Without access to the full OPR evidentiary record, Plaintiff filed a cursory response
to the draft Report of Investigation on September 6, 2019, citing only evidence that was available
to her at the time. Her response strenuously objected to OPR’s refusal to produce the full record
of evidence. See Exhibit 1.

95. On September 27, 2019, OPR issued a final Report of Investigation. See Exhibit
30, at EOIR 1-81. The OPR Final Report quoted, referenced, or discussed the testimonies of 13
eyewitnesses whom OPR or EOIR had interviewed in the course of the two-year investigation.
The 13 eyewitnesses included the two complaining attorneys; their attorney; Plaintiffs immediate
supervisor; the Arlington court administrator; two government attorneys; three court interpreters;

and at least one court security officer.

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Of the 13 interviews, OPR released to Plaintiff only one interview transcript — Plaintiff's.
See Exhibit 30, at EOIR 349-770.

96. On October 4, 2019, OPR formally acknowledged receipt of Plaintiff's August 5,
2019 FOIA request. OPR assigned the request a processing number but declined to expedite it.
Between October 2019 and March 2020, OPR took no further action. See Exhibit 2.

97. On October 8, 2019, Plaintiff was placed on administrative leave as a result of the
OPR Report of Investigation. She would remain on paid administrative leave until her removal on
September 17, 2020. During that time, Plaintiff attempted to find another job but was unable to
do so, she suspects, because the BIA’s January 2, 2018 decision had been published in the news
media.

98. Thereafter, and on February 26, 2020, the EEOC administrative judge granted
Defendant EOIR’s Motion for Summary Judgment without a hearing. See Exhibit 4.

99. The day after the EEOC administrative judge dismissed Plaintiff's EEO complaint,
Defendants proposed Plaintiff's removal from the career federal service. The February 27, 2020
Notice of Proposed Removal was explicitly predicated on the OPR Final Report of Investigation.
See Exhibit 1.

100. Along with the Notice of Proposed Removal, EOIR released 1801 pages of
documents that comprised the “EOIR Removal Record.” See Exhibit 30. The EOIR Removal
Record, however, contained only four of the 13 interview transcripts or audio recordings
referenced in the OPR Final Report. Omitted from the EOIR Removal Record were the interview
transcripts of the following nine individuals:

e Attorney Carmen Boykin, complaining attorney;

e Attorney Paul L. Knight;

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e Deborah Castro, the Arlington Court Administrator;
e ACIJ Deepali Nadkarni;

e Thais Haller, a court Spanish interpreter;

e Olga Girola, a court Spanish interpreter;

e Thai Tran, government counsel;

e Julianna Bae, government counsel; and

Dorcas Assuah, court security officer.

101. On March 30, 2020, seven months after Plaintiff filed her August 5, 2019 FOIA
request, OPR finally responded to the FOIA request and released 45 pages of documents. OPR
withheld 530 pages on a claim of exemption but did not provide a Vaughn Index. See Exhibit 26.
The 45 pages of record materials were not part of the 1801-page EOIR Removal Record. As of
today, OPR has continued to withhold the nine remaining OPR witness interview transcripts that
it referenced, quoted, or discussed in the Final Report of Investigation.

102. Without the full OPR record of evidence, Plaintiff was unable to provide a fulsome
response to the EOIR Notice of Proposed Removal. In her response filed with the Office of the
Deputy Attorney General on May 12, 2020, Plaintiff argued that Defendants’ refusal to release the
full OPR record of evidence was a denial of due process and a violation of the CSRA’s pre-
termination procedures. See Exhibit 1.

103. On June 3, 2020, Plaintiff filed an appeal with the Justice Department’s Office of
Information Policy (“OJP”), requesting that it release the remaining records of the OPR
investigation and provide a Vaughn Index, so that she could prepare for the July 16, 2020 pre-

termination hearing. OIP did not respond. See Exhibit 2.

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104. Following the pre-termination hearing, Plaintiff submitted a Supplemental
Response on August 11, 2020 that called out the most significant factual and legal errors in the
OPR Final Report of Investigation. The supplemental response also explained why the penalty of
removal would be grossly disproportionate to the alleged misconduct, even if the charges against
Plaintiff could be proven. See Exhibit 1. An accompanying 150-page compilation of documents
shows that Plaintiff's white male colleagues routinely received preferential treatment on such
matters as case assignment, court assignment, special work opportunities, promotion, retention,
and discipline. They had been subjects of misconduct complaints that were far more serious than
what Plaintiff was charged with. Yet, they received very lenient treatment. They were not
disciplined at all, let alone removed from federal service. See Exhibit 28.

105. On August 17, 2020, G. Bradley Weinsheimer, a career Associate Deputy Attorney
General in the Office of the Deputy Attorney General, issued a decision proposing to terminate
Plaintiff's 29-year employment with the Justice Department.® The decision acknowledged that
this was Plaintiff's first encounter with the attorney discipline process in nearly 29 years of
employment. It further acknowledged that Defendants failed to maintain a Table of Penalties and
to keep complete records of disciplinary and adverse actions involving immigration judges.
Nevertheless, the decision found that Plaintiff's removal from federal service was the most
appropriate sanction. The decision further acknowledged that Plaintiff was denied access to the
full OPR record of evidence. However, it concluded that Plaintiff suffered no resulting prejudice.

See Exhibit 1.

 

6 Upon information and belief, Mr. Weinsheimer is a white male in his fifties.
Previously, he served as an associate counsel and deputy chief counsel in OPR. He also served
as Chief of Staff of the National Security Division from 2016 until July 2018, when he was
promoted to the position of Associate Deputy Attorney General by then-Attorney General Jeff
Sessions.

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106. On September 17, 2020, former Attorney General William Barr signed the
proposed Removal Decision to indicate his concurrence. See Exhibit 1.

COUNT I: Violations of the FOIA and Privacy Act
for Failure to Make Records Available; Correction of Personnel Records

107. Plaintiff repeats and realleges the factual allegations in the foregoing paragraphs 1
to 60 107, as if fully set forth herein.

108. The FOIA statute confers on the district court sole and exclusive jurisdiction “to
enjoin the agency from withholding agency records and to order the production of any agency
records improperly withheld.” 5 U.S.C. § 552(a)(4)(B).

109. Plaintiff seeks immediate disclosure of improperly withheld records that are
responsive to her three FOIA and Privacy Act requests, filed in September 2015, January 2018,
and August 2019, respectively.

110. The three FOJA requests sought records that were exclusively within Defendants’
custody and control.

111. Defendants failed to process Plaintiffs three FOIA requests on a timely basis.

112. Defendants failed to process Plaintiff's three FOIA requests on an expedited basis.

113. Inresponse to Plaintiff's September 2015 FOIA request, Defendant EOIR released
a total of 100 pages of documents, on a rolling basis. The last release was in August 2017. EOIR
asserted a general claim of privilege over the remaining documents, but it refused to identify the
withheld records or provide a Vaughn Index.

114. As Plaintiff would later discover, EOIR improperly withheld approximately 1,000
pages of documents that were responsive to her September 2015 FOIA request. While taking an
ethics training course, she came upon the 1,000 pages which were stored in an electronic folder

labeled “BAIN FOIA 2015.” The folder was found in an EOIR shared drive that was mapped to

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her office computer. Plaintiff promptly reproduced the 1,000 pages to EOIR during discovery in
the EEOC action and expressed her intention to use the documents as evidence of the agency’s
discriminatory actions. A time-consuming, costly, and protracted discovery battle ensued.

115. Initially, the EEOC administrative judge determined that she lacked the authority
to compel EOIR’s release of the “BAIN FOIA 2015” documents. However, after EOIR moved
for sanctions in October 2018, the administrative judge determined that EOIR had failed to
demonstrate that Plaintiff acted improperly or engaged in misconduct when she obtained and
reproduced the documents in the “BAIN FOIA 2015” folder for use in the EEOC litigation. See
Exhibit 2.

116. Subsequently, in April 2019 the administrative judge determined that the “BAIN
FOIA 2015” documents were not privileged, because any privilege that EOIR might have asserted
had been waived by the posting of those documents on its shared drive, which was accessible by
many EOIR employees. See Exhibit 2.

117. Plaintiff brought the EEOC judge’s determinations to OPR’s attention. However,
there is no indication in the Final Report of Investigation that OPR had considered any of the
“BAIN FOIA 2015” documents.

118. On February 26, 2020, the same date on which the EEOC administrative judge
granted summary judgment to Defendant EOIR, she issued a Protective Order that covered the
documents in the “BAIN FOIA 2015” folder. The Protective Order requires special handling to
preserve EOIR’s right to assert privilege over those documents. The Protective Order further states
that the use of those documents is not restricted in any non-EEOC proceeding. See Exhibit 2.
Accordingly, in this district court action, Plaintiff intends to use some — if not all — of the “BAIN

FOIA 2015” documents as direct evidence of the agency’s discriminatory and retaliatory motives.

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119. Plaintiffs January 2018 FOIA request sought substantially the same information as
her September 2015 FOIA request. In addition, it sought information relating to the BIA’s January
2, 2018 decision finding that Plaintiff manifested improprieties in conducting the February 17,
2017 court hearing. See Exhibit 2.

120. Inresponse to the January 2018 FOIA request, Defendant EOJR released 34 pages
of non-responsive records. After Plaintiff appealed to the OIP, EOIR released additional records
that were not responsive. EOIR asserted a general claim of privilege over the remaining
documents, but it refused to identify the withheld materials or provide a Vaughn Index. See Exhibit
2.

121. Plaintiff's August 5, 2019 FOIA request sought release of the entire compilation of
OPR investigative evidence. See Exhibit 2.

122. In response to the August 5, 2019 FOIA request, OPR released 45 pages of
documents. It withheld the remaining 530 pages on a general claim of exemption but failed to
provide a Vaughn Index. The 45 pages of documents that OPR released to Plaintiff were not
included in the EOIR Record of Removal. See Exhibit 26. Thus, at the time of Plaintiff's removal
from federal service in September 2020, OPR had continued to withhold nine of the 13 witness
interview transcripts or records that OPR cited, discussed, or incorporated into its draft and final
Reports of Investigation.

123. Plaintiff has exhausted all administrative remedies available to her under the FOIA
and Privacy Act, with respect to the three FOIA requests filed in September 2015, January 2018,

and August 2019.

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124. Plaintiff has a legal right under FOIA and the Privacy Act to obtain the requested
records, and there exists no legal basis for Defendants to refuse to promptly identify and make the
records available to Plaintiff.

125. Defendants’ failure to promptly identify and release the requested records to
Plaintiff violates the FOIA statute. See 5 U.S.C. § 552(a)(3)(A). See also Bartko v. U.S.
Department of Justice, 898 F.3d 51 (D.C. Cir. 2018), and Jefferson v. U.S. Department of Justice,
284 F.3d 172 (D.C. Cir. 2002) (holding that DOJ is legally obligated to release records of OPR
investigations to a first-party requestor, where the information was not compiled for law
enforcement purposes but rather for managerial-supervision purposes).

126. Through the first cause of action, Plaintiff also challenges Defendants’ willful
failure to correct her personnel records. Because they remained uncorrected, the use of those
records in subsequent adverse personnel actions has harmed her professional reputation; deprived
her fair consideration of her claims; and ultimately robbed her of her well-earned right to continued
employment.

127. This Court has authority to order Defendants to correct Plaintiffs personnel
records.

128. The records ACIJ Santoro created contained numerous errors that he refused to
correct. They included the March 2015 reprimand letter, the June 2015 counseling letter, and the
August 2015 performance rating. See Exhibits 14, 17, and 18 (all filed under seal, exempt from
disclosure under FOIA Exemption). OPR relied on them to find professional misconduct, even
though they predated OPR’s investigation and bore no relevance to the Knight complaint

allegations. See Exhibit 30, at EOIR 7 n. 13.

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129. The personnel records that ACIJ Nadkarni generated contained information that she
knew was false. She had deliberately created the conflict situation for which she criticized Plaintiff
in the July 2016 counseling letter. She had directed a white female judge to schedule hearings
directly on Plaintiff's hearing calendar, causing numerous scheduling conflicts. When Plaintiff
requested that her colleague take back the cases, ACIJ Nadkarni issued a counseling letter
threatening to terminate Plaintiff's employment. See Exhibit 19 (filed under seal, exempt from
disclosure under FOIA Exemption 6).

130. ACIJ Nadkarni then incorporated Plaintiff's July 2016 counseling letter into an
October 2016 and an August 2017 performance rating. OPR used the ratings to support its finding
of judicial misconduct, even though they bore no relevance to OPR’s investigation. See Exhibit
30, at EOIR 7-8.

131. This Court may exercise its authority under the Privacy Act to correct agency
adjudicatory records, such as the BIA’s January 2, 2018 decision. The BIA found that Plaintiff
went off-the-record for at least five minutes to berate and bully Ms. Blessinger, but OPR
determined that the off-record time was only 31 seconds. The BIA found that Plaintiff abused her
judicial authority when she denied Ms. Blessinger a break. OPR, however, determined that it was
reasonable to make Ms. Blessinger wait until the conclusion of her client’s cross-examination.
Since these material errors of fact are prejudicial, the BIA’s decision should be rescinded and
remanded for a new decision, taking into consideration the record of evidence in this district court
proceeding.

132. This Court also has authority to rescind the OPR Report of Investigation. The
Report fails to apply correct courtroom procedures and practices. OPR also overlooks the

peculiarities of an immigration law practice and the adversarial nature of immigration court

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hearings which often require diligent and resourceful courtroom management. Upon finding that
Plaintiff did not knowingly violate the Immigration Judges’ Ethics Guide (a code of ethics for
immigration judges), OPR defaults to the two rules of professional responsibility that it usually
applies to DOJ attorneys, Model Rules 8.4 and 4.4. Those rules, however, do not govern the work
of immigration judges because they are quasi-judicial decision-makers, not advocates. The
misapplication of Model Rules 8.4 and 4.4 yields misconduct findings having ill-fitting rationales
that cannot be reconciled with federal court case law. See, e.g., Liteky v. United States, 510 U.S.
510 (1994); Hassan v. Holder, 640 F.2d 915 (6 Cir. 2010) (court of appeals rejected a similar
claim of judicial bias and misconduct filed against a female judge of color).

133. OPR’s fact findings are flimsy and deficient. The Report of Investigation is full of
conjectures and speculations that bend the are of truth toward a miscarriage of justice. Typical
background noises are skewed as improprieties. The sound of keystrokes transforms into
chuckling. Throat clearing becomes inappropriate laughter. Questions abound about the
significance of lips pursuing and eyes rolling. By asking leading, suggestive questions, OPR
deduces demeanor evidence that is shockingly insulting and denigrating, while downplaying

conflicting testimonies of eyewitnesses whose interview transcripts it would not release.’

 

7 Of court interpreter Cherilyn Varela, OPR counsel asked:

e What made you feel the tension? Was it anything about their tone of voice? Was it
their — (EOIR 1617).

e Did you notice -- let me ask you this, did you notice anything else about -- besides
Judge Bain's voice sounding angry and being a little elevated, did you notice anything
else about her physical demeanor? Like, did she, did she roll her eyes? Did she make
any facial expressions? Did she make any, you know, like — (EOIR 1618).

e How did that strike you, Judge Bain imitating what Ms. Blessinger was saying? Did
you think that that was appropriate or inappropriate, or did you think it was sort of
mocking or belittling or just maybe a little bit — (EOIR 1620).

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134. OPR makes no pretense of reconciling the conflicting witness testimonies.
Inconvenient testimony is discarded. Countervailing evidence is picked apart and dismissed.
Against this backdrop, it is easy to appreciate how innocuous comments are blown up into verbal
assault of epic proportions, so egregious that they warrant the most severe discipline possible.

135. OPR’s lack-of-candor finding also rests on pure speculation and unwarranted
assumptions. OPR lowered the standard of proof for itself, requiring only a finding that Plaintiff
“knew or should have known” the information she conveyed was false. This objective standard is
ill-suited to a “lack of candor” finding. The former requires only a false statement. The latter
demands actual knowledge of the falsity of the statement and an intent to deceive.

136. Plaintiff did not falsely accuse the Nossaman law firm of representing the
Government of Iran. Her reasonable belief rested on the firm’s profile, which boasted of having
represented individuals from North Korea and Iran who faced criminal prosecution for violating
export controls and sanctions regimes. See Exhibit 23. Plaintiff believed the statement was true
when she made it. Her point was that Mr. Knight was neither an administrative judge nor an
immigration practitioner; he was not well-positioned to the task of disqualify Plaintiff from hearing

Blessinger and Boykin cases. In any event, Mr. Knight suffered no reputational injury. The

 

Of Mr. Ahumada, OPR counsel asked:

Q: Is there any chance that, you know, what you perceived as her pursing her lips, for
example, was simply her trying to moisten them? . . . Moisten them, like my lips are dry,
I'm trying to —

A: Sure. I mean, I understand how that could be perceived, or could come across, or
that could be an option, but it was one of those where you were very -- it's not where you're
trying to moisten your lips and like put the lips on the inside of your mouth, it's more so
like your lips are still on the exterior and you're clenching them very tightly to the point
where there's like little wrinkles on your lip, you know, like — (EOIR 1638).

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Removal Decision acknowledges that representing a foreign government is not prohibited by law,
so the point is moot.

137. Plaintiff did not falsely accuse Ms. Boykin of bankruptcy fraud. Available public
source information connects Ms. Boykin to a 2013 bankruptcy proceeding. See Exhibit 23.
Plaintiff did not hide this information from OPR. She did not confess error during the OPR
interview because, at the time, she was not sure that she had erred. See Exhibit 30, at EOIR 660-
665. Since there was a reasonable factual basis for the statement, Plaintiff violated no code of
conduct in using the bankruptcy information as impeachment evidence or to discredit Ms. Boykin.
See Fed. R. Evid. 806 & 608. Furthermore, the information had limited impact. It was
disseminated through Recusal Orders issued in 19 cases, and those orders were not published. See
Exhibit 25. Finally, Ms. Boykin suffered no prejudice. OPR ultimately rejected her misconduct
complaint, finding that Plaintiff did not manifest hostility or improper bias toward Ms. Boykin

during the February 16, 2017 hearing. See Exhibit 30, at EOIR 79 n. 607.

138. Plaintiff did not falsely accuse Ms. Blessinger of unethical behavior. She used
publicly available information to discredit Ms. Blessinger’s complaint of judicial misconduct.
According to a March 2017 Washington Post article, Ms. Blessinger filed a complaint against a
bail bonding company that she claimed charged her clients excessive fees. The Department of
Homeland Security investigated the complaint that but found no wrongdoing. Ms. Blessinger then
pursued the same complaint with Fairfax County Police; however, that authority declined to
investigate. See Exhibit 23. Though ODAG claims that others had complained as well, that is
beside the point. The news article speaks for itself. It was reputational evidence, and its use was

permissible under Fed. R. Evid. 806 and 608.

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139. Plaintiff did not falsely accuse Mr. Ahumada of having an ulterior motive for
testifying against her. His motive was a relevant consideration in her adjudication of the recusal
motions, and Plaintiff really did have that belief. The February 17, 2017 court hearing was the
very first court hearing Mr. Ahumada attended, and it was also his last. Two weeks after the
hearing, he executed a sworn affidavit that was used to disqualify Plaintiff from all Blessinger and
Boykin cases. During her OPR interview, Ms. Blessinger admitted that she was upset with
Plaintiff's handling of her client’s case, and that, going into the February 17, 2017 hearing, she
was prepared to confront Plaintiff if she had to, to make a record for appeal. See Exhibit 30, at
EOIR 1514-1517, 1536. From that admission a reasonable inference can be drawn that Mr.
Ahumada’s presence as an eyewitness that day was not coincidental. It served to buttress Ms.
Blessinger’s contentions on appeal.

140. This Court has authority to rescind the Attorney General’s Removal Decision on
the following grounds.

141. The Removal Decision misapplies the law governing the work of immigration
judges. It ignores the presumption of impartiality that is accorded to administrative judges. It
wholly overlooks commonly applied court rules and the recusal procedure in OPPM 05:02. In
fact, the Decision cites not a single immigration statute, regulation, or policy. Completely divorced
from the immigration court context, it makes no attempt to balance the immigration judge’s interest
in maintaining decorum and order in the courtroom, against the litigant’s interest in having his day
in court.

142. As OPR concluded, Plaintiff did not knowingly or intentionally violate the
Immigration Judges’ Ethics Guide. The Removal Decision thus defaults to two rules of

professional responsibility that OPR typically applies, Model Rules 8.4 and 4.4. Even then, the

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rules are inapplicable to this situation. Mr. Weinsheimer admits that Plaintiffs conduct
implicated, but did not necessarily violate, some of the rules. But rather than dismissing the
charges of removal, he presses forward with a finding that Plaintiff's conduct — whether or not
violative of Rules 8.4 and 4.4. — was misconduct so outrageous it warranted her removal from
federal service.

143. The Douglas factors weigh against terminating Plaintiff's otherwise exceptional
29-year career with the Justice Department. EOIR had not kept complete and accurate records of
disciplinary actions against immigration judges. There is no Table of Penalties to ensure
uniformity. The eight anonymized scenarios of immigration judge discipline bear this out.
Though the precise contours of those cases are unknown, none of the judges was removed.

144. Defendants tethers the Removal Decision to one particular case involving an EOIR
senior executive who was not an immigration judge. He was terminated for sexually abusing his
co-workers, demanding favors and gifts from subordinates, and seeking quid pro quo treatment
from contractors. Defendants’ reliance is misplaced. Plaintiffs situation is not analogous, and
drawing an analogy — as Mr. Weinsheimer did — is highly insulting. Plaintiff was a public servant
of 29 years. She labored for each day’s wages and spoke the truth even when it was unpopular.
She excelled in her job because she was dedicated and worked hard at it. She earned her stripes
honestly, building a solid reputation among her peers as someone who goes the extra mile and gets
the job done. She treats others with kindness. She does not need adulation or admiration. It is
enough that people know she is conscientious, decent, and fair. See Exhibit 16.

145. The termination of Plaintiffs 29-year DOJ career speaks volumes about
discriminatory treatment of women of color at DOJ. White male judges over 40 years of age who

have engaged in far more serious misconduct have remained on the bench, drawing their full pay

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and employment benefits even when they are investigated. Female judges of color, on the other
hand, have suffered unjustifiable denials of accommodations, leave, fair evaluations of their work
performance, work opportunities, and career advancement. See Exhibit 22.

146. In Plaintiff's case, the penalty of removal is grossly disproportionate to the penalties
imposed on other immigration judges. OPR statistics indicate that, in the past ten years, no
immigration judge has been discharged for failing to maintain impartiality, displaying improper
demeanor, or using impeachment evidence that turned out to be wrong. Even when such
misconduct is established, the sanction imposed is relatively lenient, ranging from oral counseling
to light suspension. See Exhibit 22. When viewed against this backdrop, the penalty of removal
raises the specter of discrimination simply because it is so disproportionate. See Exhibit 22.

147. Ifnot corrected, Plaintiff's personnel records will continue to impede her ability to
find new employment in the federal government or in the private sector. Plaintiff's termination
has already caused irreparable harm: Her health insurance coverage and her life insurance
coverage of the past 29 years were cut off in the midst of the raging covid-19 pandemic. In
addition, she stands to lose approximately six years of retirement pension payments and associated
benefits. She also will have to expend additional resources, time, and money on fighting
disciplinary bar proceedings that are premised on grounds so weak even the Defendants hesitate
to sustain them.

COUNT I: Discrimination, Retaliation for Protected Activity,
and Hostile Work Environment

148. Plaintiff repeats and realleges the factual allegations in the foregoing paragraphs 1
to 147, as if fully set forth herein.

Past and Continuing Discrimination

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149. Plaintiff's removal from the federal service was the direct result of past and
continuing discrimination that began in January 2015 and ended with her removal in September
2020. By undertaking a series of discriminatory “materially adverse actions” during that time
period, Defendants laid the groundwork for her removal. These discriminatory adverse actions are
described in preceding Paragraphs 6 to 106. They are summarized below.

150. The March 2015 reprimand letter, June 2015 counseling letter, and August 2015
performance ratings contained significant factual errors that EOIR managers refused to correct. In
2015, EOIR used these personnel actions to justify denying Plaintiff's second request for a
reassignment to the Arlington Immigration Court. As a result, Plaintiff's medical condition was
exacerbated by the continuing use of frequently malfunctioning videoconference equipment.

151. The July 2016 counseling letter and September 2016 performance rating were
discriminatory and retaliatory personnel actions that Defendants undertook to punish Plaintiff for
pursuing the December 2015 EEOC action. They exacerbated her medical condition by requiring
her to handle an extremely heavy caseload as compared to her white colleagues’ caseloads, and to
suffer their abusive case dumping practices.

152. The January 2017 release of privacy-protected information from Plaintiff's
personnel file to AILA, and the inclusion of that information in the AJLA attorneys’ March 2017
complaints, constituted retaliation for Plaintiff's pursuit of legal redress for the discrimination
through her EEOC action. The release of privacy-protected information caused emotional distress
for Plaintiff, triggering fears about misuse of the leaked information, and heightening undeserved
scrutiny of her work performance and conduct.

153. Plaintiffs referral to OPR for an investigation in August 2017 was improperly

predicated on the questionable, false claims of EOIR’s former Deputy Director. As a result,

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Plaintiff had to devote an enormous amount of time, energy, and money to defending herself
against the charges and to dealing with the fall-out.

154. EOIR’s discriminatory motive was manifested throughout the OPR investigation.
A time-consuming, costly, and protracted discovery battle it orchestrated in the EEOC litigation
prevented Plaintiff from using approximately 1,000 pages of documents stored the shared drive
folder “BAIN FOIA 2015.” Although the documents were accessible by many EOIR employees,
EOIR falsely accused Plaintiff of hacking into the shared drive, stealing the information, and
replicating it for use in her EEOC action. Ultimately, the administrative judge determined that
Plaintiff did not improperly access the “BAIN FOIA 2015” folder, and that any privilege EOIR
could have asserted over those documents had been waived. See Exhibit 2. The protracted
discovery dispute, in turn, prevented proper factual development in the EEOC action, allowing
EOIR to move for summary judgment as soon as discovery closed.

155. EQOIR’s deliberate concealment of adverse evidence in the EEOC action contributed
to its dismissal by summary judgment. The evidence EOIR withheld included the BIA’s decisions
affirming Plaintiff's Recusal Orders in seven cases. Those documents created a genuine dispute
of material fact concerning the propriety of Plaintiff's Recusal Order. Because that key piece of
evidence was withheld, the administrative judge was left with the mistaken impression that
Plaintiff's Recusal Order was so highly improper that it would justify an OPR investigation.

156. Similarly, EOIR’s failure to divulge key evidence to OPR skewed the investigation
in its favor. The OPR Report was predicated on the highly improper, misleading claim of the
former EOIR Deputy Director that Plaintiff's Recusal Order warranted an investigation. Had she
disclosed the BIA’s affirmance of the Recusal Order in seven cases, OPR would have been hard

pressed to justify the investigation.

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157. In the end, the misplaced OPR investigation, which was motivated by
discriminatory and retaliatory animus, cost Plaintiff her job, left her without health or life insurance
in the midst of the raging COVID-19 pandemic, irreparably damaged her professional reputation,
and diminished her future employment prospects.

New Claim of Discrimination

158. Plaintiff further asserts that her removal from federal service in September 2020 is
a discrete, new act of discrimination that violates federal anti-discrimination statutes, as well as
the Whistleblower Protection Act. She properly raised this new claim of discrimination and
whistleblower retaliation to the Office of the Deputy Attorney General through her May 12, 2020
Response and August 11, 2020 Supplemental Response to the Notice of Proposed Removal. See
Exhibit 1.

159. Regarding the new claim of discrimination, the materially adverse actions
described above are also discriminatory “prohibited personnel practices” that contributed to
Plaintiff's removal. Defendants undertook those discriminatory personnel practices for the
purpose of ousting Plaintiff from the Arlington Immigration Court and replacing her with an
external white male immigration judge candidate whom Defendants favored. See 5 U.S.C. §§
2302(b)(8) & (9). Below is a summary of those discriminatory personnel practices.

160. In March 2015, the judge candidate, Vance Spath, submitted his first immigration
judge application to EOIR, at a time when there was no vacancy in the Arlington Immigration
Court. That same month, Plaintiff recetved a reprimand from her supervisor for intemperate
behavior. The reprimand effectively barred her from obtaining a reassignment to the Arlington

court for three years. See Exhibit 21.

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161. In November 2015, Vance Spath resubmitted his application after a vacancy was
announced. That month, Plaintiff learned that her request for a reassignment to the Arlington court
was denied, as was her application for a Board Member position. See Exhibit 21.

162. In March 2017, the judge candidate was offered an immigration judge position in
the Arlington Immigration Court, at a time when courtroom space was insufficient to
accommodate him. That same month, two immigration bar attorneys filed a complaint of improper
conduct with Plaintiff's supervisor, alleging that Plaintiffs treatment of them warranted an
investigation. See Exhibit 21.

163. In June 2018, former Attorney General Jefferson Sessions appointed Vance Spath
to the Arlington Immigration Court. That month, Plaintiff sat for a hostile, seven-hour interview
with OPR investigative counsel and was later found to have lacked candor in answering two
questions. See Exhibit 21.

164. InSeptember 2018, Vance Spath was invested as an immigration judge on the same
day that Attorney General Sessions resigned. The new judge began his employment in the
Arlington Immigration Court. He was assigned his own courtroom, while Plaintiff had to share
her courtroom with one or two other female judges. See Exhibit 21.

165. In April 2019, a federal court of appeals determined that the new judge had violated
the rules of judicial ethics and professional responsibility, in the manner in which he pursued his
immigration judge appointment. While pursuing the appointment, the judge presided over a
military commission trial in which Justice Department lawyers from the National Security
Division served as prosecutors, and the judge refused to disclose his immigration judge application

to defense counsel, despite being asked to do so. To remedy this serious ethical violation, the court

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of appeals tossed the judge’s rulings going back four years, to the time when he first began
pursuing an immigration judge position in March 2015. See Exhibit 21.

166. Despite this very serious ethical breach, Vance Spath’s employment was not
terminated while he was still on probation. Instead, in September 2020, after he completed his
two-year probationary term, Defendants terminated Plaintiff's employment after 29 years of
exemplary public service to the Justice Department.

167. The discriminatory and retaliatory personnel practices that Defendants undertook
over the course of those five years directly resulted in Plaintiff's removal. She was replaced by an
external white male judge candidate who, by Defendants’ admission, had virtually no prior
immigration practice experience when he was appointed an immigration judge. See Exhibit 21.
That the new judge was not discharged — and, indeed, was subsequently promoted to a supervisory
position — after a federal court of appeals found that he violated the rules of ethical and judicial
conduct further underscores the disparate and discriminatory hiring, promotion, disciplinary and
retention practices at EOIR.

COUNT Ill: Whistleblower Retaliation

168. Plaintiff repeats and realleges the factual allegations in the foregoing paragraphs 1-
167, as if fully set forth herein. Plaintiffs claim of whistleblower retaliation is based on the
following allegations of discriminatory “prohibited personnel practices” that Defendants
undertook to punish Plaintiff for making disclosures of violations of law; gross mismanagement;
and fraud, waste, and abuse. The disclosures directly contributed to her removal in September
2020.

169. In March 2015, Plaintiff objected to a work assignment that would have caused her

to violate the law governing immigration detention.

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170. At the time, Plaintiff was detailed to the York, Pennsylvania Immigration Court
and was to conduct hearings in over 100 aged, detained cases by tele-videoconference. Most of
the cases involved detainees who had been detained for three to four years pending completion of
their court proceedings. After they were denied bond hearings, many detainees filed habeas corpus
petitions seeking immediate release from immigration custody.

171. When Plaintiff expressed concern about the heightened litigation risks that
prolonged detentions without bond hearings presented to the agency as well as to Plaintiff, her
supervisor (ACIJ Santoro) retaliated by issuing a March 2015 reprimand that criticized her for
displaying intemperate behavior toward him. The reprimand was effective for a period of three
years, and it barred Plaintiff from obtaining a reassignment to the Arlington Immigration Court’s
non-videoconference docket. The reprimand forced Plaintiff to continue hearing aged, detained
cases out of the York Immigration Court, using dated tele-videoconference equipment that
frequently malfunctioned and caused her to suffer migraine headaches.

172. Within a month of the disclosure to her supervisor, EOIR replaced failing
videoconference equipment in her courtroom. The new equipment, however, also failed because
of deficient infrastructure. Plaintiff then received authorization to travel to the York Immigration
Court to conduct her assigned court hearings in person. However, in June 2015 her supervisor
issued a counseling letter accusing Plaintiff of traveling without his permission. He revoked the
travel authorization that Plaintiff had received from other EOIR personnel, which resulted in
Plaintiff being denied approximately $400 in travel expense reimbursement.

173. After OPR commenced an investigation of Plaintiff on unrelated charges,
Defendants retaliated against her by providing the March 2015 reprimand and June 2015

counseling letter to OPR. The OPR Final Report cited those personnel actions as evidence of

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Plaintiff's alleged tendency toward insubordination and lack of professionalism. Thereafter, the
former EOIR Director* used the March 2015 reprimand and June 2015 counseling letter to propose
her proposed removal.

174. In July 2016, Plaintiff voiced concern about the abusive case assignment practices
that her next supervisor (ACIJ Nadkarni) employed. The supervisor had transferred fifteen-to-
twenty-year-old, problematic cases from the dockets of white male judges to Plaintiff's docket and
required Plaintiff to expeditiously complete those cases. The supervisor also allowed other non-
supervisory judges to dump their unwanted cases on Plaintiff's docket, which caused numerous
scheduling conflicts. Finally, the supervisor assigned Plaintiff two to three times the number of
new cases as she assigned to other judges.

175. When Plaintiff expressed concern about her unsustainable workload, the supervisor
issued a July 2016 counseling letter that criticized Plaintiff for sending an email to another judge,
demanding that the other judge stop scheduling court hearings directly on Plaintiff's hearing
calendar. The counseling letter threatened to terminate Plaintiff's employment. The counseling
letter was then used to justify a downgrade of her October 2016 and August 2017 performance
ratings. It was released to AILA in January 2017, which cited the counseling in the two attorneys’
March 1, 2017 complaint filed with Plaintiff's supervisor.

176. After Plaintiff amended her EEO complaint in May 2018 to oppose these gross and
abusive management practices, EOIR officials changed the regulation concerning case assignment.
The new regulation provides that only the EOIR Director or the Chief Immigration Judge may
direct the deferral of adjudication of any case or cases by an immigration judge. See 8 C.F.R.

1003.10(b) (2019). It augments a pre-existing regulation that limited case reassignments among

 

8 The former EOIR Director was a white male in his forties.

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sitting judges to circumstances such as disability, retirement, or death of the originally assigned
judge.

177. Notwithstanding the regulatory change, EOIR continued to use the disingenuous
August 2016 counseling letter to justify Plaintiff's removal. The counseling letter was released to
OPR, which used the letter to support its finding of improper courtroom conduct.” The EOIR
Director cited the counseling letter to propose Plaintiff's removal and in moving for summary
judgment in her EEOC action. The Office of the Deputy Attorney General also cited the
counseling letter as justification for her removal.

178. In February 2018, Plaintiff objected to her supervisor’s (ACIJ Nadkarni’s)
instruction that she grant relief in several pending cases, against her best judgment. Plaintiff's
objection rested on the regulation at 8 C.F.R. 1003.9 (2018), which prohibits a supervisory judge
from dictating case outcomes to subordinate judges. When the supervisor continued pressuring
Plaintiff to grant relief, Plaintiff copied EOIR senior management on the email correspondence.
In her email, Plaintiff objected to the supervisor’s interference with her work, and asked that the
supervisor respect her decisional independence.

179. Soon thereafter, EOIR revised the regulation to make it clear that a supervisory

judge may not dictate case outcomes to a line judge. A new regulation at 8 C.F.R. 1003.10 (2019)

 

° Throughout the two-year OPR investigation, Plaintiff apprised OPR counsel of
developments in her EEOC case, to the extent they were relevant to the OPR investigation. For
example, Plaintiff called OPR counsel’s attention to the illegal disclosure of privacy-protected.
information from her personnel file to ATLA two months before the filing of the immigration
attorneys’ March 2017 complaint with Plaintiff's supervisor. In response, OPR investigative
counsel stated that the unauthorized disclosure was not harmful to Plaintiff, because in conducting
the investigation, OPR had to consider that information anyway. In 2018, Plaintiff advised OPR
counsel that she had located the “BAIN FOIA 2015” documents in the agency’s shared drive and
asked that OPR counsel examine those documents for evidence of discrimination and retaliation.
There is no indication in the OPR Final Report of Investigation that OPR counsel did so.

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provides that in deciding the individual cases before them, “immigration judges shall exercise their
independent judgment and discretion and may take any action consistent with their authorities
under the Act and regulations that is appropriate and necessary for the disposition of such cases.”
Id.

180. Notwithstanding the regulatory change, EOIR used Plaintiff's February 2018 email
communication with the supervisor to justify her removal. A copy of that email was provided to
OPR, which quoted the email out of context to support its finding of insubordination. The former
EOIR Director referred to the email in his affidavit supporting the agency’s Motion for Summary
Judgment in the EEOC action. Based on that affidavit and other evidence EOIR provided, the
EEOC concluded that Plaintiff had failed to show that her supervisors’ actions were motivated by
discrimination or retaliation.

181. In November 2017, Plaintiff disclosed to OPR her concerns about EOIR’s
Constitutionally infirm Immigration Judge Complaint Resolution Program. Plaintiff disclosed the
structural flaws in the program that litigants exploited to their advantage. Using statistical
evidence, she described how the program encouraged dissatisfied litigants to engage in judge
shopping, by misusing the recusal procedure to obtain immediate disqualification of a disfavored
judge.

182. As a result of this disclosure, EOIR immediately revamped its process for
investigating misconduct complaints. The first draft of the new immigration judge complaint
resolution protocol was circulated in November 2017. The second draft was published in April
2018. As of today, EOIR has not implemented a final version of the new complaint resolution

protocol.

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183. This disclosure by Plaintiff to OPR apparently triggered another disclosure: The
Justice Department’s view on ex parte communications between immigration judges and litigants.
On October 8, 2019, the Justice Department’s Professional Responsibility Advisory Office
(“PRAO”) issued an advisory opinion that contradicts EOIR’s April 2018 version of the complaint
resolution protocol. According to the PRAO advisory opinion, an ex parte complaint of judicial
misconduct filed with a supervisory immigration judge should be disclosed to the judge who is the
subject of the complaint, as well as to the opposing party, as soon as practicable. According to
PRAO, this would disincentivize the use of ex parte complaints by immigration court litigants to
gain an unfair advantage over their opponents.

184. Defendants’ response to Plaintiff's disclosure of this abuse of process was to ignore
it. OPR concluded that Plaintiff exhibited poor judgment in asking the court administrator to
testify about her ex parte communication with Attorney Blessinger, even though it triggered
Plaintiff's disclosure obligation under the Immigration Judges Ethics Guide and the PRAO
advisory opinion. The EOIR Director ignored the PRAO advisory opinion and found that Plaintiff
engaged in “conduct unbecoming an immigration judge” when she asked the court administrator
to testify about the ex parte communication. In the Removal Decision, the Associate Deputy
Attorney General did, too.

185. As described above, Plaintiff's protected disclosures effectuated meaningful
changes in EOIR regulation, policy, and practices. However, rather than crediting Plaintiff with
the improvements, EOIR terminated her employment in retaliation for the disclosures.

Prayer for Relief
WHEREFORE, Plaintiff respectfully requests that this Court award the following

declaratory and injunctive relief:

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Count I: Violation of the FOJA and Privacy Act

186. Declare that Defendants violated the FOIA by failing to identify the requested
information and materials;

187. Declare that Defendants violated the FOIA by unlawfully withholding the
requested information and materials;

188. Declare that Plaintiff has a legal right to access the entire OPR record of
investigative evidence, including all OPR witness interview records that are cited, discussed, or
incorporated into the OPR Final Report of Investigation;

189. Declare that the approximately 1,000 pages of documents that were stored in the
agency’s shared drive, in a folder labeled as “BAIN FOIA 2015,” are admissible in this district
court action and may be used in any related judicial or administrative proceeding;

190. Order Defendants to release immediately the requested information and materials
to Plaintiff in a suitable format without charge for any search or duplication fees. In the alternative,
provide for expedited proceedings to adjudicate Plaintiff's rights under the FOIA and Privacy Act;

191. As to any requested information and materials responsive to Plaintiff's requests that
Defendants wish to withhold or redact as being exempt from disclosure, Order Defendants to
provide Plaintiff with an itemized, indexed inventory thereof, accompanied by a statement of
justification explaining each such withholding or redaction, in accordance with the requirements
of Vaughn v. Rosen, 484 F.2d 820 (D.C. Cir. 1973), cert. denied, 415 U.S. 977 (1974);

192. Award Plaintiff her reasonable costs and attorneys’ fees;

Count II: Discrimination
193. Declare that Plaintiff has a due process right under the Fifth and Fourteenth

Amendments to be from interference in the discharge of her duties.

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194. Declare that Defendants’ materially adverse personnel actions injured Plaintiff's
liberty or property interest in her continued employment, and that they also interfered with the
lawful discharge of the duties of her office. See 42 U.S.C. § 1985(1).

195. Declare that Defendants committed harmful errors in arriving at the September 17,
2020 Removal Decision, in violation of 5 U.S.C. §§ 7701(c)(2)(A) & (C), 7701(c)(3).

196. Declare that Defendants have not proven the charges by a preponderance of the
evidence, and that they improperly weighed the Douglas mitigating and aggravating factors;

197. Declare that Plaintiff experienced severe discrimination and retaliation for
engaging in protected EEO activity as well as a hostile work environment, in violation of anti-
discrimination statutes.

198. Declare that Defendants evaluated Plaintiffs performance and conduct in a
discriminatory and retaliatory manner, and that the records of such personnel evaluations contain
significant mistakes of fact requiring correction;

199. To remedy the substantial interference with Plaintiffs Constitutional and statutory
rights in her employment:

a. Order the rescission and sealing of the Attorney General’s September 17,
2020 Removal Decision.

b. Order the rescission and sealing of OPR’s draft Report of Investigation and
Final Report of Investigation;

c. Order the rescission of the BIA’s erroneous January 2, 2018 decision and
its retraction from all internet and media outlets.

d. Order correction of the errors in Plaintiffs official personnel file,

performance rating files, and similar record files in a manner consistent with 5 U.S.C. § 552a. The

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personnel actions that require correction include the March 2015 reprimand, June 2015 counseling
letter, August 2015 performance rating, July 2016 counseling letter, October 2016 performance
rating, and August 2017 performance rating.

200. Award Plaintiffreasonable attorneys’ fees, costs, and other consequential damages;

201. Award Plaintiff compensatory damages for pain and suffering, emotional distress,
damage to professional reputation that resulted from Defendants’ discriminatory employment
actions between March 2015 and September 2020, to include full back pay, interest, and loss of
employment-related benefits;

202. Award compensatory damages for the mental anguish and public humiliation that
Plaintiff has suffered as a result of the public dissemination of the January 2, 2018 BIA decision.
Count III: Whistleblower Retaliation

203. Declare that Plaintiff experienced severe and discriminatory retaliation for
engaging in protected whistleblower activity, and that her protected disclosures contributed to her
discharge on September 17, 2020, in violation of the Whistleblower Protection Act.

204. Award Plaintiff her reasonable costs and attorneys’ fees;

205. Award Plaintiff compensatory damages for pain and suffering caused by the severe
harassment and retaliation that she experienced on account of her protected disclosures;

206.  Reinstate Plaintiff to the position she held before her removal, or, in the alternative,
reassign her to a comparable position at the same pay level and in the same commuting area.

207. Any other relief as the Court deems just and proper.

Dated: September 17, 2021 Respectfully submitte
Quynh Vu Bain
Plaintiff, pro se

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